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 1   NATHAN SHAPIRO
     6166 S. Sandhill Road
 2
     Suite 146
 3   Las Vegas, NV 89120
     Telephone: (212) 777-0002
 4   Email: nylairchief@gmail.com
     Defendant in Proper Person
 5

 6                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
 7

 8    PAUL PONOMARENKO, an individual,            Case No.: 2:18-cv-00216-RFB-CWH

 9                          Plaintiff,            ORDER ON MOTION FOR OST PER LR IA
                                                  6-1 IN RE:
10    vs.                                         MOTION FOR LEAVE OF COURT TO NAME
                                                  ADDITIONAL PARTY AND TO ASSERT
11                                                ADDITIONAL CAUSES OF ACTION
      PROJECT VEGAS MANSION, corporate
                                                  PURSUANT TO FED.R.CIV.P. 15(a)(2) and
12    entity of unknown form, NATHAN              19(a)(1)(A); MEMORANDUM OF POINTS
      SHAPIRO, an individual; and DOES 1          AND AUTHORITIES IN SUPPORT THEREOF
13    through 50,                                 [PROPOSED ORDER]
14
                     Defendants.
15    NATHAN SHAPIRO, an individual,

16                         Counterclaimant,
17
      vs.
18
      PAUL PONOMARENKO, an individual,
19    DOES 1 through 50 and ROE business
      entities 51 through 100,
20

21                   Counterdefendants.
       NATHAN SHAPIRO, an individual,
22
                        Third Party Plaintiff,
23

24    vs.

25    SUMMIT ESTATE, INC. DBA SUMMIT
      ESTATE RECOVERY CENTER, a
26    California corporation, DOES 1 through
      50 and ROE business entities 51 through
27
      100,
28
                        Third Party Defendants.
     Case 2:18-cv-00216-RFB-CWH Document 95 Filed 02/27/18 Page 2 of 2



 1          ________________________________________________________________________
            The  Motion of Defendant, NATHAN SHAPIRO (“Shapiro”) for Order Shortening Time
 2   _______________________________________________________________________________
     Pursuant to LR IA 6-1 in re: Motion for Leave of Court to Name an Additional Party and to
 3   _______________________________________________________________________________
     Assert Additional Causes of Action Pursuant to Fed.R.Civ.P. 15(a)(2) and Fed.R.Civ.P. 19(a)(1)
 4    _______________________________________________________________________________
     (A); Memorandum of Points and Authorities in Support Thereof [ECF 92] is before the Court.
 5   _______________________________________________________________________________
     After full consideration of the papers and pleadings on file in the action and admissible evidence,
 6   ____________________________
     and good cause appearing therefor;
 7          IT IS HEREBY ORDERED THAT:
 8          Defendant's Motion for Leave of Court to Name an Additional Party and to Assert
 9   Additional Causes of Action Pursuant to Fed.R.Civ.P. 15(a)(2) and Fed.R.Civ.P. 19(a)(1)(A) (ECF
10   No. 91) and Motion for Order Shortening Time Pursuant to LR IA 6-1 (ECF No. 92) are
11   GRANTED.
         .
12

13

14                  February 27, 2018.
            DATED: _______________________

15

16                                                 _________________________________________
                                                   RICHARD F. BOULWARE, II
17                                                 UNITED STATES DISTRICT JUDGE
18

19

20

21

22
     Respectfully submitted by:
23

24   /s/ Nathan Shapiro
     NATHAN SHAPIRO
25   6166 S. Sandhill Road
     Suite 146
26   Las Vegas, NV 89120
     Telephone: (212) 777-0002
27
     Email: nylairchief@gmail.com
28   Defendant in Proper Person

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